     Case 2:20-cv-11327-JAK-PVC Document 20 Filed 06/07/21 Page 1 of 2 Page ID #:140




1
      Todd M. Friedman (SBN 216752)
      Adrian R. Bacon (SBN 280332)
2     LAW OFFICES OF TODD M. FRIEDMAN, P.C.
3     21550 Oxnard St. Suite 780,
      Woodland Hills, CA 91367
4
      Phone: 877-206-4741
5     Fax: 866-633-0228
6
      tfriedman@toddflaw.com
      abacon@toddflaw.com
7     Attorneys for Plaintiff
8
                          UNITED STATES DISTRICT COURT
9
                         CENTRAL DISTRICT OF CALIFORNIA
10
      LUCINA CALDERA, individually, and )                   Case No.
11
                                                  )
      on behalf of all others similarly situated,
12                                                )         2:20-cv-11327-JAK-PVC
13    Plaintiff,                                  )
                                                  )         NOTICE OF VOLUNTARY
      vs.
14
                                                  )         DISMISSAL OF ACTION WITH
15    SPEEDY CASH, and DOES 1through )                      PREJUDICE AS TO PLAINTIFF
                                                  )         AND WITHOUT PREJUDICE AS
16    10, inclusive, and each of them,
                                                  )         TO THE PUTATIVE CLASS.
17    Defendant(s).                               )
18

19    NOW COMES THE PLAINTIFFS by and through their attorneys to respectfully
20    move this Honorable Court to dismiss this matter with prejudice as to plaintiff
21    and without prejudice as to the class. No Defendant has filed either an answer or
22    a motion for summary judgment at this time, and no Court order is necessary
23    pursuant to the Fed. R. Civ. P. Each party shall bear their own costs and attorney
24    fees.
25    Respectfully submitted this 7th Day of June, 2021,
26
                                            By: s/Adrian R. Bacon Esq.
                                                Adrian R. Bacon
27                                             Attorney for Plaintiff
28




                                          Notice of Dismissal - 1
     Case 2:20-cv-11327-JAK-PVC Document 20 Filed 06/07/21 Page 2 of 2 Page ID #:141




1                              CERTIFICATE OF SERVICE
2
      Filed electronically on June 7, 2021, with:
3

4     United States District Court CM/ECF system
5
      Notification sent electronically on June 7, 2021, to:
6

7
      To the Honorable Court, all parties and their Counsel of Record

8

9                                             By: s/Adrian R. Bacon Esq.
                                                   Adrian R. Bacon
10
                                                   Attorney for Plaintiff
11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




                                        Notice of Dismissal - 2
